       Case 0:23-cv-61217-RS Document 3 Entered on FLSD Docket 06/27/2023 Page 1 of 1
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court           Southern District of Florida (Ft Lauderdale)                       on the following
      G
      ✔ Trademarks or         G Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
    0:23-cv-61217-RS                       6/26/2023                            Southern District of Florida (Ft Lauderdale)
PLAINTIFF                                                                 DEFENDANT

The Smiley Company SPRL                                                    The Individuals, Business Entities, And Unincorporated
                                                                           Associations Identified On Schedule A.


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 2,747,618

2 2,566,529

3 5,453,732

4 2,970,055

5 3,016,430


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 2,801,529

2 5,348,135

3 6,428,755

4

5


                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE
 Angela E. Noble                                             Nadhege Augustin                                                  6/27/2023

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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